                       UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                               3:04-CR-201-MU

UNITED STATES OF AMERICA            )
                                    )
      v.                            )
                                    )                        ORDER
VINTAGE PHARMACEUTICALS,            )
INC., WILLIAM PROPST, SR.,          )
WILLIAM PROPST, JR., and            )
QUALITEST PHARMACEUTICALS, )
INC.                                )
                                    )
      Defendants.                   )
____________________________________)


       This matter is before the court upon its own motion to refer all outstanding motions in the
above captioned case to Magistrate Judge David C. Keesler. Pursuant to 28 U.S.C. §
636(b)(1)(A), (B), and (C), all outstanding motions are referred to Judge Keesler for disposition
and for Memorandums and Recommendations where appropriate.
       IT IS THEREFORE ORDERED that the outstanding motions in this matter be referred
to Judge Keesler to be handled before this matter proceeds to trial in April of 2006.




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                        Signed: August 24, 2005




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